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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

 

CONRAD SMITH, et al, Case No: 1:21-cv-2265-APM

Plaintiffs,
VS.

DONALD J. TRUMP, et al,

Defendants.

 

 

DECLARATION OF WILLIAM J. BLECHMAN IN
SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, William J. Blechman, pursuant to Civil Rule 83.2(c) of the Rules of the United States
District Court for the District of Columbia, hereby declare as follows:

1. I submit this declaration based on my personal knowledge of the facts about me in
support of the motion for permission to appear pro hac vice as counsel for Plaintiffs in this action.

2. I am a Partner at Kenny Nachwalter, P.A., and our firm has been retained as counsel
for Plaintiffs in the above-referenced action. My firm’s main office is located at 1441 Brickell
Avenue, Suite 1100, Miami, Florida 33131. My business telephone number is (305) 373-1000,
and my business e-mail address is wblechman@knpa.com.

3. I am a member of the Bars of the State of Florida and the District of Columbia. |
am also a member of the American Bar Association. I am admitted to the U.S. District Court for
the Southern District of Florida, U.S. District Court for the Middle District of Florida, the U.S.
Court of Appeals for the Fifth Circuit, the U.S. Court of Appeals for the Eleventh Circuit, the
Supreme Court of Florida, and the U.S. Supreme Court.

4. I certify that I have never been disciplined by any bar in any Sarisdiefon.

5. I have not been admitted pro hac vice in this Court within the last two years.
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6. I do not engage in the practice of law from an office located within the District of

Columbia.

I declare under penalty of perjury that the foregoing is true and correct.

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|

, 2023 Respectfully submitted,

William Jf Blechman
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Dated: February

 

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